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 3
 4                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
 5
 6
       UNITED STATES OF AMERICA,              )     No. CR-08-173-RHW-10
 7                                            )
                     Plaintiff,               )     ORDER MODIFYING
 8                                            )     CONDITIONS OF RELEASE
       v.                                     )
 9                                            )
       DELAINA D. REID,                       )
10                                            )
                     Defendant.               )
11                                            )
                                              )
12                                            )

13          IT IS ORDERED that Defendant’s conditions of release are modified

14    as follows:

15          1.   Defendant shall refrain from the use of alcohol and there

16    shall no alcohol in the residence where Defendant resides.

17          2.   If random urinalysis testing is not done through a treatment

18    program,     random   urinalysis   testing    shall     be   conducted   through

19    Pretrial Services, and shall not exceed six (6) times per month.

20    Defendant shall submit to any method of testing required by the

21    Pretrial Service Office for determining whether the Defendant is

22    using a prohibited substance.         Such methods may be used with random

23    frequency and include urine testing, the wearing of a sweat patch,

24    a remote alcohol testing system, and/or any form of prohibited

25    substance screening or testing.             Defendant shall refrain from

26    obstructing or attempting to obstruct or tamper, in any fashion,

27    with the efficiency and accuracy of prohibited substance testing.

28    Full mutual releases shall be executed to permit communication


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 1    between the court, Pretrial Services, and any treatment vendor.
 2       DATED April 29, 2009.
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 4                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER MODIFYING CONDITIONS OF RELEASE           - 2
